                      UNITED STATES DISTRICT COURT FOR THE
                          MIDDLE DISTRICT OF TENNESSEE

MONTANA CONNECTION, INC., et al.,               )
                                                )
        Plaintiffs,                             )   Civil Action No. 3:12-cv-0824
                                                )
v.                                              )   Chief Judge William J. Haynes, Jr.
                                                )
JUSTIN MOORE, et al.,                           )   JURY DEMAND
                                                )
        Defendants.                             )

      DEFENDANTS’ RESPONSE TO PLAINTIFF’S MOTION IN LIMINE No. 2 TO
      EXCLUDE THE DISCLOSURE AND TESTIMONY OF DWIGHT WILES AS AN
                               EXPERT

        Defendants Justin Moore, individually and doing business as Double Barrel Ace Music,

Jamie Paulin, individually and doing business as Pawpaw Paulin Publishing, Jeremy S. Stover,

individually and doing business as Songs of Countrywood, Big Machine Music, LLC (formerly

known as Super ’98 Music, LLC), EMI April Music Inc., EMI Blackwood Music Inc., the Valory

Music Company, LLC, Universal Music Group Distribution, Corp., and Rebel Rooster, Inc

(collectively, “Defendants”) submit the following Response in Opposition to Plaintiffs’ Motion

to Exclude The Disclosure and Testimony of Dwight Wiles as an Expert. (Doc. No. 189).

        Plaintiffs’ Motion makes no showing sufficient to exclude Mr. Wiles as an expert in this

matter and should be denied. Mr. Wiles, as an officer and business manager for Rebel Rooster,

Inc. (“RRI”) has specialized knowledge, training and experience in his role as a business

manager for musical artists with over two decades of experience. Mr. Wiles was not hired in this

litigation for the purpose of forming an opinion but is nonetheless permitted to express his

opinions without the requirement of preparing a report. Fed. R. Civ. P. 26(a)(2)(C). Finally,

Plaintiffs deposed Mr. Wiles extensively during their 30(b)(6) deposition of RRI and have actual

knowledge of both his extensive qualifications, the very areas in which he has already testified




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and the financial documents prepared under his guidance on behalf of RRI. The transcript from

the 30(b)(6) deposition of RRI is incorporated into Mr. Wiles’ disclosure and contains significant

detail on the subject matter on which Mr. Wiles is expected to testify and a summary of the facts

and opinions to which Mr. Wiles is expected to testify— the financial accounting issues related

to Rebel Rooster, Inc., as the loan-out company for Justin Moore.

I.      Standards of Review

        A.     Motion in Limine Standard of Review

        This Court “has the power to exclude evidence in limine only when evidence is clearly

inadmissible on all potential grounds.” Indiana Insurance Co. v. General Electric Co., 326 F.

Supp. 2d 844, 846 (N.D. Ohio 2004). Unless the evidence is clearly inadmissible on all potential

grounds, the Court should defer evidentiary rulings excluding proffered evidence until trial so

that the Court may have the proper context (foundation, relevance and potential prejudice) in

ruling on the motion in limine. Id.

        B.     Daubert Motion Standard of Review

        Rule 702 of the Federal Rules of Evidence governs the admissibility of expert testimony:

If scientific, technical, or other specialized knowledge will assist the trier of fact to understand

the evidence or to determine a fact in issue, a witness qualified as an expert by knowledge, skill,

experience, training, or education, may testify thereto in the form of an opinion or otherwise, if

(1) the testimony is based upon sufficient facts or data, (2) the testimony is the product of

reliable principles and methods, and (3) the witness has applied the principles and methods

reliably to the facts of the case. Fed. R. Evid. 702.

        The trial judge serves as a gatekeeper, admitting only that expert testimony that is

relevant and reliable. Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579, 589, 113



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S.Ct. 2786 (1993). With regard to specialized knowledge, the trial court must initially determine

whether the reasoning or methodology used is scientifically valid and is properly applied to the

facts at issue in the trial. Galloway v. Big G Exp., Inc., 590 F. Supp. 2d 989, 992-93 (E.D. Tenn.

2008) (citing Daubert, 509 U.S. at 589, 113 S.Ct. 2786).

       To assist the trial court in its gatekeeping role, the Supreme Court has identified several

(non-exhaustive) considerations: (1) whether the scientific knowledge can or has been tested; (2)

whether the given theory or technique has been published or been the subject of peer review; (3)

whether a known error rate exists; and (4) whether the theory enjoys general acceptance in the

particular field. Daubert, 509 U.S. at 592-94, 113 S.Ct. 2786.

       The Court's determination “must be solely on principles and methodology, not on the

conclusions that they generate.” Id. at 595, 113 S.Ct. 2786. “[T]he test under Daubert is not the

correctness of the expert's conclusions but the soundness of his methodology.” Daubert v.

Merrell Dow Pharmaceuticals, Inc., 43 F.3d 1311 (9th Cir.1995) (emphasis supplied).

       “Although Daubert centered around the admissibility of scientific expert opinions, the

trial court's gatekeeping function applies to all expert testimony, including that based upon

specialized or technical, as opposed to scientific, knowledge.” Galloway v. Big G Exp., Inc., 590

F. Supp. 2d 989, 992-93 (E.D. Tenn. 2008) (citing Kumho Tire Co. v. Carmichael, 526 U.S. 137,

147-48, 119 S.Ct. 1167, 143 L.Ed.2d 238 (1999); Berry v. City of Detroit, 25 F.3d 1342, 1350

(6th Cir.1994)).

       “The trial judge enjoys broad discretion in determining whether the factors listed in

Daubert reasonably measure reliability in a given case.” Galloway, 590 F. Supp. 2d at 993

(citing Daubert at 153, 119 S.Ct. 1167. The party proffering the expert testimony bears the




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burden of showing its admissibility under Rule 702 by a preponderance of the evidence. Id.

(citing Daubert, 509 U.S. at 592 n. 10, 113 S.Ct. 2786).

II.      Plaintiffs’ Motion to Exclude Dwight Wiles Should Be Denied

          Plaintiffs complain that “it is difficult to conclude that [the Wiles] disclosure states ‘the

subject matter on which the witness is expected to present evidence’ and ‘a summary of the facts

and opinions to which the witness is expected to testify.’” (Plaintiffs’ Brief, p. 7). Yet, counsel

for the Plaintiffs took a deposition of Mr. Wiles that produced a transcript that is 157 pages in

length and which is attached to and incorporated by reference into the disclosure provided by Mr.

Wiles.

         Counsel examined Mr. Wiles at length concerning the corporation Rebel Rooster, Inc.,

which is the loan-out corporation through which Justin Moore provides entertainment services

and which receives income in exchange for those services. During that examination, Plaintiffs

discovered all qualifications and background possessed by Mr. Wiles in his role as business

manager and officer for Rebel Rooster, Inc. Plaintiffs certainly have learned all of the facts and

opinions about which Mr. Wiles may testify rather than the bare summary that the rules require.

         In fact, Plaintiffs’ own expert witness regarding finance, Dr. Einhorn, relies specifically

on financial information that Mr. Wiles generated and about which counsel for the Plaintiffs

examined Mr. Wiles in his deposition. (See Vlahos Declaration in Opposition to Plaintiffs’

Motion to Exclude Ricigliano and Hallett, Exh. E, p. 18, No. 32 (RR 000107-RR000113)).

Plaintiffs’ complaint that Defendants did not then distill the information that Plaintiffs already

possess into a different format elevates form over substance and is a pointless exercise and

misunderstands the purpose for which Mr. Wiles was disclosed.




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       Plaintiffs further complain that Mr. Wiles’ report cannot serve as his direct testimony at

trial. Mr. Wiles was not retained in order to form an opinion for purposes of this litigation. He is

involved in the day-to-day business management of Rebel Rooster and provides financial

information that is the factual basis for argument regarding damages and information to be used

by experts who were retained for the purpose of providing an opinion: Einhorn and Hallett. As

such, his testimony is much more akin to a fact witness in his role as officer and business

manager for RRI with respect to the very financial information about which Plaintiffs deposed

him extensively.

       Plaintiffs also complain, in essence, that the financial statements prepared by Mr. Wiles

are not “audited” as that term is defined by Generally Accepted Accounting Principles. The

purpose, of course, of a formal audit is to ensure the accuracy of the financial statements,

generally in connection with a publicly traded corporation. Mr. Moore is the sole shareholder of

Rebel Rooster, as Plaintiffs know based upon their thorough examination of Mr. Wiles at his

deposition.

       As a result, pursuant to the guidelines from AICPA (American Institute of Certified

Public Accountants), Mr. Wiles’ cover letter for Rebel Rooster’s financial statements was

appropriate.(See_http://www.aicpa.org/InterestAreas/FRC/DownloadableDocuments/Third_Party

_Verification/QA_Third_Party_Verification.pdf) (disclaimer letter appropriate where one is not

independent and has compiled/assembled the financial data without performing a financial audit

under the AICPA guidelines). Moreover, a comparison of the Rebel Rooster financial statements

at issue with the tax returns for Rebel Rooster also produced in this matter will demonstrate the

accuracy of the questioned financial statements as Mr. Wiles explained in detail during the

30(b)(6) deposition of Rebel Rooster.



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       Mr. Wiles has supplied financial information regarding revenue and expenses that are

relevant to the issues in this lawsuit. Further, Plaintiffs’ Motion fails to articulate any undue

prejudice in Mr. Wiles testifying in the same precise manner he did under oath during Plaintiffs’

deposition. As a result, he should be permitted to testify at trial regarding the same topics and

facts for which Plaintiffs deposed Mr. Wiles during Rebel Rooster, Inc.’s 30(b)(6) deposition.

Directv, Inc. v. McCool, 339 F. Supp. 2d 1025, 1029 (M.D. Tenn. 2004) (“Although the reports

did not fully comply with Rule 26, Defendant makes no argument that he has been prejudiced in

any way by the reports’ deficiencies.”)

       He is clearly qualified to present that information to the court and jury, and Plaintiffs will

suffer no surprise when he testifies. In fact, counsel for the plaintiffs has examined Mr. Wiles far

longer and on far more wide ranging topics than Defendants would elicit through a direct

examination at trial. Thus, excluding Mr. Wiles’ testimony is not warranted.

                                          CONCLUSION

       For the reasons stated herein, Defendants request this Court deny Plaintiffs’ Motion to

Exclude The Disclosure and Testimony of Dwight Wiles as an Expert.




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                                                  Respectfully submitted,

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                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the above document was served via the Court’s
electronic filing system upon the following:


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on this 29th day of September, 2014.
                                                   /s/ Timothy L. Warnock




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